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Mangold, Donna

From:                                   Mangold, Donna
Sent:                                   Thursday, June 28, 2018 2:01 PM
To:                                     Dennis M. Cariello
Cc:                                     Jonathon C. Glass (jglass@cooley.com)
Subject:                                RE: Any way we can talk this morning


Dennis and Jonathon,

Sorry for my delay in responding. I was in meetings/calls all morning, and then realized my outlook hadn’t updated since I rebooted my computer at
8:30. We can’t give any directional guidance yet, although I can advise that the proposed transaction is under review by leadership. The goal is to get
back to you for a preliminary conversation on Monday. I am on vacation beginning on Saturday, so someone else will reach out.

From: Dennis M. Cariello [mailto: dennis.cariello@hmbr.com]
Sent: Thursday, June 28, 2018 8: 42 AM
To: Mangold, Donna
Cc: Jonathon C. Glass (jglass@cooley.com)
Subject: Any way we can talk this morning

Donna,

Jonathan and I both have board meetings where we would like to give the board the best possible information as to
the direction the Department is headed (even if not in an written form). Is there any way you can give us some
directional guidance on the issues we’ve discuss (including post-closing conditions, if any, and guidance on the affiliate
rule).

The board has an important decision to make regarding the plan to close on July 1. We would greatly appreciate
speaking with you so we can have the most up-to-date information for them.

Thanks,
Dennis

Dennis M. Cariello
Shareholder




■
              HOGAN MARREN
              BABB □ & ROSE, LTD

E-MAIL        DENNIS.CARIELLO@HMBR.COM
MAIN          21 2.422.4900
DIRECT        21 2.422.4909
MOBILE        646.41 5.4471
FAX           31 2.946.981 8

              40 BROAD STREET • 7 TH FLOOR • NEW YORK, NY 1 0004
              WWW.HMBR.COM

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